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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN DOE,
                                                    Case No. 22-cv-3421
               Plaintiff,
                                                    Judge Mary M. Rowland
v.
                                                    Magistrate Judge Sheila M. Finnegan
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE "A",
               Defendants.

                              DEFAULT JUDGMENT ORDER

        This action having been commenced by Plaintiff Eden 3000, Inc. (“Eden”) against the

defendants identified on Schedule A, and using the Defendant Domain Names and Online

Marketplace Accounts identified on Schedule A (collectively, the “Defendant Internet Stores”),

and Eden having moved for entry of Default and Default Judgment against the defendants

identified on the redacted Schedule A attached hereto which have not yet been dismissed from this

case (collectively, “Defaulting Defendants”);

        This Court having entered a preliminary injunction; Eden having properly completed

service of process on Defaulting Defendants, the combination of providing notice via electronic

publication and e-mail, along with any notice that Defaulting Defendants received from domain

name registrars and payment processors, being notice reasonably calculated under all

circumstances to apprise Defaulting Defendants of the pendency of the action and affording them

the opportunity to answer and present their objections; and
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       None of the Defaulting Defendants having answered or appeared in any way, and the time

for answering having expired, so that the allegations of the Complaint are uncontroverted and are

deemed admitted;

        This Court finds that it has personal jurisdiction over Defaulting Defendants because

 Defaulting Defendants directly target their business activities toward consumers in the United

 States, including Illinois. Specifically, Eden has provided a basis to conclude that Defaulting

 Defendants have targeted sales to Illinois residents by setting up and operating e-commerce

 stores that target United States consumers using one or more seller aliases, offer shipping to

 the United States, including Illinois, and have sold products using infringing and counterfeit

 versions of Eden’s federally registered trademark (the “Eden Trademark”) to residents of

 Illinois. In this case, Eden has presented screenshot evidence that each Defendant e-commerce

 store is reaching out to do business with Illinois residents by operating one or more commercial,

 interactive internet stores through which Illinois residents can and do purchase products using

 counterfeit versions of the Eden Trademark. See Docket No. 9-2 through 9-15, which includes

 screenshot evidence confirming that each Defendant e-commerce store does stand ready,

 willing and able to ship its counterfeit goods to customers in Illinois bearing infringing and/or

 counterfeit versions of the Eden Trademark.

       A list of the Eden Trademark is included in the below chart.


  Registration Number                 Registered Trademark                International Classes
        3,043,035                       SNORE STOPPER                              10

       This Court further finds that Defaulting Defendants are liable for willful federal trademark

infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C.




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§ 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510

et seq.).

        Accordingly, this Court orders that Eden’s Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default, and that

this Default Judgment is entered against Defaulting Defendants.

        This Court further orders that:

1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

        persons acting for, with, by, through, under, or in active concert with them be permanently

        enjoined and restrained from:

        a. using the Eden Trademark or any reproductions, counterfeit copies, or colorable

            imitations in any manner in connection with the distribution, marketing, advertising,

            offering for sale, or sale of any product that is not a genuine Eden product or not

            authorized by Eden to be sold in connection with the Eden Trademark;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Eden product or any other product produced by Eden, that is not Eden’s or not produced

            under the authorization, control, or supervision of Eden and approved by Eden for sale

            under the Eden Trademark;

        c. committing any acts calculated to cause consumers to believe that Defaulting

            Defendants’ products are those sold under the authorization, control, or supervision of

            Eden, or are sponsored by, approved by, or otherwise connected with Eden; and

        d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

            storing, distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for Eden, nor authorized by Eden to be sold or offered


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           for sale, and which bear any of Eden’s trademarks, including the Eden Trademark, or

           any reproductions, counterfeit copies or colorable imitations.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, and the domain name registrars, including, but not limited to, GoDaddy

        Operating Company LLC, Name.com, PDR LTD. d/b/a/ PublicDomainRegistry.com, and

        Namecheap Inc., within seven (7) calendar days of receipt of this Order, shall, at Eden’s

        choosing:

        a. transfer the Defendant Domain Names to Eden’s control, including unlocking and

           changing the registrar of record for the Defendant Domain Names to a registrar of

           Eden’s selection, and the domain name registrars shall take any steps necessary to

           transfer the Defendant Domain Names to a registrar of Eden’s selection; or

        b. disable the Defendant Domain Names and make them inactive and untransferable.

3.      Defaulting Defendants and any third party with actual notice of this Order who is providing

        services for any of the Defaulting Defendants, or in connection with any of the Defaulting

        Defendants’ Online Marketplaces, including, without limitation, any online marketplace

        platforms such as eBay, Inc., AliExpress, Alibaba Group Holding Ltd. (“Alibaba”),

        Amazon.com, ContextLogic, Inc. d/b/a Wish.com (“Wish.com”), Walmart, Inc., Shopify,

        Inc., and Dhgate (collectively, the “Third Party Providers”), shall within seven (7) calendar

        days of receipt of this Order cease:

               a. using, linking to, transferring, selling, exercising control over, or otherwise

               owning the Online Marketplace Accounts, or any other online marketplace account




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               that is being used to sell or is the means by which Defaulting Defendants could

               continue to sell counterfeit and infringing goods using the Eden Trademark; and

               b. operating and/or hosting websites that are involved with the distribution,

               marketing, advertising, offering for sale, or sale of any product bearing the Eden

               Trademark or any reproductions, counterfeit copies or colorable imitations thereof

               that is not a genuine Eden product or not authorized by Eden to be sold in

               connection with the Eden Trademark.

4.      Upon Eden’s request, those with notice of this Order, including the Third Party Providers

        as defined in Paragraph 4, shall within seven (7) calendar days after receipt of such notice,

        disable and cease displaying any advertisements used by or associated with Defaulting

        Defendants in connection with the sale of counterfeit and infringing goods using the Eden

        Trademark.

5.      Pursuant to 15 U.S.C. § 1117(c)(2), Eden is awarded statutory damages from each of the

        Defaulting Defendants in the amount of $250,000 for willful use of counterfeit Eden

        Trademarks on products sold through at least the Defendant Internet Stores. This award

        shall apply to each distinct Defaulting Defendant only once, even if they are listed under

        multiple different aliases in the Complaint and Schedule A.

6.      Any Third Party Providers holding funds for Defaulting Defendants, including PayPal, Inc.

        (“PayPal”), Alipay, Alibaba, Wish.com, Walmart Inc., Ant Financial Services Group (“Ant

        Financial”), and Amazon Pay, shall, within seven (7) calendar days of receipt of this Order,

        permanently restrain and enjoin any accounts connected to Defaulting Defendants or the

        Defendant Internet Stores from transferring or disposing of any funds (up to the statutory

        damages awarded in Paragraph 6 above) or other of Defaulting Defendants’ assets.


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7.      All monies (up to the amount of the statutory damages awarded in Paragraph 5 above)

        currently restrained in Defaulting Defendants’ financial accounts, including monies held

        by Third Party Providers such as PayPal, Alipay, Alibaba, Wish.com, Walmart Inc., Ant

        Financial, and Amazon Pay, are hereby released to Eden as partial payment of the above-

        identified damages, and Third Party Providers, including PayPal, Alipay, Alibaba,

        Wish.com, Ant Financial, and Amazon Pay, are ordered to release to Eden the amounts

        from Defaulting Defendants’ financial accounts within fourteen (14) calendar days of

        receipt of this Order.

8.      If all monies currently restrained in Defaulting Defendants’ financial accounts, including

        monies held by Third Party Providers such as PayPal, Alipay, Alibaba, Wish.com, Walmart

        Inc., Ant Financial, and Amazon Pay, do no satisfy the entire above-identified damages,

        such accounts shall remain restrained and any additional monies received into those

        accounts in the future shall continuously be released to Eden as partial payment of the

        above-identified damages and Third Party Providers, including PayPal, Alipay, Alibaba,

        Wish.com, Walmart Inc., Ant Financial, and Amazon Pay, are ordered to continue to

        release those monies to Eden until the entire above-identified damages amount has been

        satisfied. Although the financial accounts shall remain restrained, nothing herein shall

        restrict the Defaulting Defendants from operating the associated Online Marketplace

        Accounts to sell products unrelated to Eden, or bearing the Eden Trademark.

9.      Until Eden has recovered full payment of monies owed to it by any Defaulting Defendant,

        Eden shall have the ongoing authority to commence supplemental proceedings under

        Federal Rule of Civil Procedure 69.




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10.      In the event that Eden identifies any additional online marketplace accounts or financial

         accounts owned by Defaulting Defendants, Eden may send notice of any supplemental

         proceeding, including a citation to discover assets, to Defaulting Defendants by e-mail at

         the e-mail addresses provided for Defaulting Defendants by third parties.


This is a Default Judgment.


Dated: October 17, 2022
                                                                     ______________________
                                                                     Judge Mary M. Rowland
                                                                     United States District Judge




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                                  Schedule A

Def.
No.    Marketplace               Merchant Name                    Product ID
 1      Alibaba            Yiwu Aibin E-Commerce Firm           1700006562369
                     Hebei Chongfeng Science&technology Co.,
 2       Alibaba                        Ltd.                     62504973891
                     Hebei Chongfeng Science&technology Co.,
 2       Alibaba                        Ltd.                     62478055322
                     Hebei Chongfeng Science&technology Co.,
 2       Alibaba                        Ltd.                     62297373966
 3       Alibaba     Shijiazhuang Aofeite Imp & Exp Co., Ltd.   1600100086876
 3       Alibaba     Shijiazhuang Aofeite Imp & Exp Co., Ltd.   1600107363751
 4       Alibaba        Huizhou Bedowon Trading Co., Ltd.        62299812579
 4       Alibaba        Huizhou Bedowon Trading Co., Ltd.        62017808158
 5       Alibaba      Hunan Luca Import And Export Co., Ltd.    1600332232181
 5       Alibaba      Hunan Luca Import And Export Co., Ltd.    1600154038830
 6       Alibaba      Hefei Jubang Home Furnishings Co., Ltd.    60627516296
                     Yangzhou Lanniao Sports Equipment Co.,
 7       Alibaba                        Ltd.                    1600320820852
                     Dongguan Puning Silicone Technology Co.,
 8       Alibaba                        Ltd.                     62146647157
                        Shenzhen Daywons Technology Co.,
 9       Alibaba                      Limited                    60627995337
                        Shenzhen Daywons Technology Co.,
9        Alibaba                      Limited                    62300076057
10       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60820649399
10       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60753949427
10       Alibaba      Henan Geesion Medical Devices Co., Ltd.   1600390718981
10       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60752843136
11       Alibaba       Shenzhen GMSN Technology Co., Ltd.        60811840592
12       Alibaba      Henan Geesion Medical Devices Co., Ltd.     1953342257
12       Alibaba      Henan Geesion Medical Devices Co., Ltd.    62015170120
12       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60217553210
12       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60709632597
12       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60218468201
12       Alibaba      Henan Geesion Medical Devices Co., Ltd.    60803484942
13       Alibaba       Hengshui Jieling Technology Co., Ltd.    1600370442257
13       Alibaba       Hengshui Jieling Technology Co., Ltd.    1600368555561
13       Alibaba       Hengshui Jieling Technology Co., Ltd.    1600369726846
13       Alibaba       Hengshui Jieling Technology Co., Ltd.    1600369769455
14       Alibaba        Hebi Tianchi Trading Company Ltd.        62368620536
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15       Alibaba        Ruian Hengyuan Electronic Co., Ltd.       1600175668410
15       Alibaba        Ruian Hengyuan Electronic Co., Ltd.       1600175664546
15       Alibaba        Ruian Hengyuan Electronic Co., Ltd.       1600287830534
                     Henan Xinyongtai Medical Technology Co.,
16       Alibaba                        Ltd.                      1600172743255
                     Henan Xinyongtai Medical Technology Co.,
16       Alibaba                        Ltd.                       60783268716
                     Henan Xinyongtai Medical Technology Co.,
16       Alibaba                        Ltd.                      1600172648880
17       Alibaba      Wenzhou Holdapple Technology Co., Ltd.       60344103882
18       Alibaba         Yiwu Jiechen Pet Products Co., Ltd.      1600279882938
                      Guangzhou Linke International Trade Co.,
19       Alibaba                        Ltd.                      1600061722951
                      Guangzhou Linke International Trade Co.,
19       Alibaba                        Ltd.                       62520398536
20       Alibaba       Llrn Personal Care (Shenzhen) Co., Ltd.     60752509100
                      Yiwu Qianlang Electronic Commerce Co.,
21       Alibaba                        Ltd.                      1600221876546
                      Yiwu Qianlang Electronic Commerce Co.,
21       Alibaba                        Ltd.                      1600113809592
22       Alibaba       Shenzhen Rechan Technology Co., Ltd.        60654296860
22       Alibaba       Shenzhen Rechan Technology Co., Ltd.        60781040745
23       Alibaba     Shanghai T-Win Intelligent Technology Co.,   1600192856106
                      Zhejiang Shichi Hardware Manufacturing
24       Alibaba                      Co., Ltd.                    62511792227
25       Alibaba         Simon Tech (Guangzhou) Co., Ltd.         1600136465686
26       Alibaba        Shenzhen S-Lord Electronic Co., Ltd.       60808911290
26       Alibaba        Shenzhen S-Lord Electronic Co., Ltd.       60777534520
26       Alibaba        Shenzhen S-Lord Electronic Co., Ltd.       60822374537
26       Alibaba        Shenzhen S-Lord Electronic Co., Ltd.       62089824727
27       Alibaba             Xiamen Situ Crafts Co., Ltd.          62507256691
27       Alibaba             Xiamen Situ Crafts Co., Ltd.          62405277858
27       Alibaba             Xiamen Situ Crafts Co., Ltd.         1600171384218
28       Alibaba     Shenzhen Sunxiangbao Electronic Co., Ltd.    1600065696354
29       Alibaba       Shenzhen Arrebol Technology Co., Ltd.       62314049123
30       Alibaba      Suzhou Haody Medical Products Co., Ltd.     1600247934860
31       Alibaba          Xiamen Wisetop Crafts Co., Ltd.          60563274707
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.    1600162572151
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.     62389840929
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.     60755817239
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.     62265367833
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.     62266852815
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.    1600230721310
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.     60755139822
32       Alibaba      Xiamen Comfortlife Electronics Co., Ltd.    1600160818166

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32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     60755146284
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62500788100
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62484040905
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62496319983
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.    1600161206396
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62511233267
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62065296738
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62496672335
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.    1600295690583
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62417611950
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62419286511
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.    1600300471487
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62421595977
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62166916804
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     60790335644
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     62478900035
32        Alibaba     Xiamen Comfortlife Electronics Co., Ltd.     60790227997
33        Alibaba        Xiamen Eshun Industrial Co., Ltd.         62043213762
33        Alibaba        Xiamen Eshun Industrial Co., Ltd.         62064916934
34        Alibaba      Xiamen Yizhou Imp. & Exp. Co., Ltd.         62013262241
34        Alibaba      Xiamen Yizhou Imp. & Exp. Co., Ltd.         62015601895
34        Alibaba      Xiamen Yizhou Imp. & Exp. Co., Ltd.         62013907445
35        Alibaba       Huizhou Yibish Technology Co., Ltd.        60547563622
35        Alibaba       Huizhou Yibish Technology Co., Ltd.        62545599086
35        Alibaba       Huizhou Yibish Technology Co., Ltd.        62087983670
35        Alibaba       Huizhou Yibish Technology Co., Ltd.        60499435164
35        Alibaba       Huizhou Yibish Technology Co., Ltd.        60622267373
36        Alibaba           Yiwu Jiaze E-Commerce Firm             60851173604
37        Alibaba     Zhejiang Kangnailai Technology Co., Ltd.    1600153843120
                             GOlDENCARE MEDICAL
38       Aliexpress          TECHNOLOGY CO.,LTD                      1949421397
39       Aliexpress               Afashion Beauty                   32718016950
40       Aliexpress            Ai Healthy Life Store               4000219971513
41       Aliexpress             Ali-Lillian HB Store             1005003309356892
42       Aliexpress                  bestnewplan                   4001006972653
42       Aliexpress                  bestnewplan                 1005003626624174
43       Aliexpress              Shop1314086 Store                  32357076074
44       Aliexpress             Prettys Women Store                 32985325098
44       Aliexpress             Prettys Women Store                 32957798554
45       Aliexpress               Islandshop Store               1005002703783253
46       Aliexpress              B2C Shop 88 Store               1005003288759663
47       Aliexpress               33445920 Store                    32947833914
48       Aliexpress        Sunny Chou Commercial Store           1005001354375888
49       Aliexpress             Beauty Health Expert               4000237000471
50       Aliexpress          DKSHETOY Official Store             1005003194132524
50       Aliexpress          DKSHETOY Official Store             1005003193647717
                                        10
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51       Aliexpress                All Buy Store                32915298531
51       Aliexpress                All Buy Store             1005003323607022
52       Aliexpress                  PIMI Store                 32827440625
53       Aliexpress                  Goit Store                4000070594867
54       Aliexpress        Ali-JETTING SEX Co. Store            32988595113
55       Aliexpress          Ali Jetting Makeup Store           32919041907
56       Aliexpress               MERALL Store               1005003643502081
57       Aliexpress             Dedream 24-7 Store           1005003197969401
58       Aliexpress         001 Beautiful Woman Store           32818562780
59       Aliexpress                 95599 Store              1005001462448488
59       Aliexpress                 95599 Store                 32955373097
60       Aliexpress              Beautiful hut Store           4000601666190
61       Aliexpress               M Outdoor Store            1005003650930028
62       Aliexpress               1847 Blues Store           1005001495263726
63       Aliexpress            Trendy Glasses Store          1005001902648680
64       Aliexpress        Offer Discount Cosmetic Store        32901245049
65       Aliexpress              BBetter You Store           1005003035683423
66       Aliexpress            ChasingBeauty Store           1005003504830284
67       Aliexpress              Sweety Girl Store           1005002631559921
67       Aliexpress              Sweety Girl Store           1005003606212711
67       Aliexpress              Sweety Girl Store           1005003606240342
68       Aliexpress                YOVIP Store               1005001653064600
68       Aliexpress                YOVIP Store               1005003324212060
69       Aliexpress          JCSYFAC Makeup Store            1005003323623751
70       Aliexpress         JOCESTYLE Official Store           4000418568651
71       Aliexpress           Hiveseen Official Store           33013851077
71       Aliexpress           Hiveseen Official Store        1005003430426078
71       Aliexpress           Hiveseen Official Store          4000837042912
72       Aliexpress             Shop3885016 Store            1005003140328934
73       Aliexpress               Healthy-Sk Store           1005003310715309
74       Aliexpress          KuZHEN Maku Up Store               32954712177
74       Aliexpress          KuZHEN Maku Up Store            1005003438516048
74       Aliexpress          KuZHEN Maku Up Store            1005002460804778
74       Aliexpress          KuZHEN Maku Up Store               32918756860
74       Aliexpress          KuZHEN Maku Up Store              4000129243846
75       Aliexpress             Shop4224009 Store              4000639875461
76       Aliexpress            Ali-Beauty2018 Store          1005003324413776
77       Aliexpress             PandaHealthy Store           1005002059978668
78       Aliexpress             Shop4426070 Store            1005001721974338
79       Aliexpress            Chinese Plaster Store         1005001952874820
80       Aliexpress            Kayla Wellbeing Store           4001080269386
80       Aliexpress            Kayla Wellbeing Store         1005001381247667
81       Aliexpress             UOYOTT Life Store            1005003026652002
82       Aliexpress         Healthy Dropshipping Store       1005002399982446
83       Aliexpress           OLIECO Official Store            4000174360978
84       Aliexpress         UOYOTT Aliexpress Store            4000026885438
                                        11
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 85      Aliexpress        House Warm Decoration Store         4000765626287
 86      Aliexpress                E-Women Store               4000669982232
 87      Aliexpress              Fanci Hea1th Store             32976127740
 88      Aliexpress              Fanci baeuty Store          1005003630848139
 89      Aliexpress         PLAYFUN SPAORTS Store              4001003300862
 90      Aliexpress                DF House Store              4000202464764
 91      Aliexpress          Homes improvement Store           4001032169922
 92      Aliexpress               Fruit Sweets Store         1005003647463121
 93      Aliexpress         Personal Healthy Life Store        4001192904485
 94      Aliexpress                  B H X Store               4000379084437
 95      Aliexpress             Llewellyn's Ali Store          4001230434427
 96      Aliexpress               hi ~For You Store          1005001566299431
 96      Aliexpress               hi ~For You Store          1005003629933760
 97      Aliexpress              Shop5495028 Store           1005003640188859
 98      Aliexpress          New Year Makeups Store          1005003426655282
 99      Aliexpress             MAKEUP229 Store              1005001954139758
100      Aliexpress                Kim Mask Store            1005002317983994
101      Aliexpress                 Halibare Store             4001125745153
102      Aliexpress                 CareYou Store              4001285454671
103      Aliexpress          Allseason E-medical Store         4001358062560
103      Aliexpress          Allseason E-medical Store       1005002057900544
104      Aliexpress              Shop5720122 Store           1005002510906941
104      Aliexpress              Shop5720122 Store           1005003161237565
105      Aliexpress             FuLi Healthey Store            4001095989294
106      Aliexpress             Cinny Healthy Store           10000346506032
107      Aliexpress           Ibeautify Dropship Store       1005001933327206
108      Aliexpress        Amy's Massage Therapy Store       1005003636772939
109      Aliexpress            CIFbuy Medicine Store           4000970743109
110      Aliexpress           Wake-up Beautiful Store          4001179935908
111      Aliexpress              Fancy-Beauty Store          1005003071130154
112      Aliexpress             Health-Pamper Store          1005003483180042
113      Aliexpress               Mycc Sexy Store            1005002239936920
114      Aliexpress              Shop5882792 Store           1005001452777975
114      Aliexpress              Shop5882792 Store           1005001302285775
115      Aliexpress             Pampering Life Store         1005001737382079
116      Aliexpress            Shop900239144 Store           1005001900711127
116      Aliexpress            Shop900239144 Store           1005001927622895
117      Aliexpress              Health-beauty Store         1005002796115033
117      Aliexpress              Health-beauty Store         1005001268762754
118      Aliexpress              MOJ Makeup Store            1005003372164315
119      Aliexpress               January-8th Store          1005001678416781
120      Aliexpress            Shop910363209 Store           1005003333389247
121      Aliexpress                Win1990 Store             1005001957562723
121      Aliexpress                Win1990 Store             1005001720727440
122      Aliexpress           Happy-beauty-Life Store        1005003071244386
122      Aliexpress           Happy-beauty-Life Store        1005003095015613
                                       12
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123      Aliexpress               SexyLover Store              1005001882512660
124      Aliexpress                let us 857 Store            1005003642268316
124      Aliexpress                let us 857 Store            1005003642250419
125      Aliexpress            Sexy And Healthy Store          1005002176852181
126      Aliexpress             Shop911461050 Store            1005002663986090
127      Aliexpress                 WUWU Store                 1005003583327483
128      Aliexpress                   IOIO Store               1005003649212681
129      Aliexpress              Beauty-Girls Store            1005003140892771
130      Aliexpress     Lunar Makeup Garden Dropship Store     1005003141990645
131      Aliexpress             Makeup mm girl Store           1005002327014722
132      Aliexpress            YUNGLR healthy Store            1005002481910032
133      Aliexpress         BeautyBelongs To You Store         1005003564357712
134      Aliexpress           Mmakeup Dropship Store           1005003527707440
134      Aliexpress           Mmakeup Dropship Store           1005002995014972
135      Aliexpress               HealthLove Store             1005002506368606
135      Aliexpress               HealthLove Store             1005002495102663
136      Aliexpress             Xiaomi-Beauty Store            1005003141190704
137      Aliexpress               Ouchhappy Store              1005002753974825
138      Aliexpress     China Factory Direct Collected Store   1005003035861742
138      Aliexpress     China Factory Direct Collected Store   1005003138922331
139      Aliexpress               GoodBeauty Store             1005003596638500
140      Aliexpress      Professional In Stock Makeup Store    1005003193020813
141      Aliexpress          Healthier Tomorrow Store          1005003650082469
142      Aliexpress                  OURR Store                1005003505688350
143      Aliexpress                LALABO Store                1005003192286304
144      Aliexpress              Goddess care Store            1005003012530129
145      Aliexpress                   Touu Store               1005003620329380
145      Aliexpress                   Touu Store               1005003647083969
146      Aliexpress               Healthy 111 Store            1005003048718213
147      Aliexpress           TINKBLUR Officia Store           1005003095508764
148      Aliexpress        hui make up day day day Store       1005003245929789
149      Aliexpress               OOOOOK Store                 1005003643871967
150      Aliexpress               white sister Store           1005003339048337
151      Aliexpress             OuchHappy life Store           1005003304385542
152      Aliexpress              So-Beautiful Store            1005003594869645
152      Aliexpress              So-Beautiful Store            1005003595052257
153      Aliexpress             Rescue unhappy Store           1005003472936445
153      Aliexpress             Rescue unhappy Store           1005003472922577
154      Aliexpress                 Yel814 Store               1005003654861985
154      Aliexpress                 Yel814 Store               1005003632706867
154      Aliexpress                 Yel814 Store               1005003654933548
155       Amazon                        Yotown                   B09L7QVTG7
156       Amazon                   binbongaetanno                B08Q3NV24G
157       Amazon                       Jadebell                  B09J8HMM5Y
158       Amazon                    NewOneTeam                   B09JK5HC3B
159       Amazon                       cferstore                 B093H46MRM
                                        13
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160      Amazon                    Dewinshop168                  B07QN66SFZ
161      Amazon                        NIYET                     B085T3QXLN
162      Amazon                       XylShop                    B09MN13GQ7
163      Amazon                     tevigo gmbh                  B00FJ1DTYO
164      Amazon                      Shopastore                 B08BWLH4LB
165      Amazon                   KEOC SELLER                    B082XYZ6QC
166      Amazon                      LZQQYUE                    B09DKBHKWK
167      Amazon                     Lyplus store                 B09HX2KPGS
168      Amazon                       USGOD                     B09MM4CH5C
168      Amazon                       USGOD                      B09MM4193Q
169      Amazon                       QtendUS                    B097TVBFVL
169      Amazon                       QtendUS                    B097TS7QG1
170      Amazon                    AOFITOA store                B09CPZWTMC
171      Amazon                   Ganapoco Direct               B09KWZMBYV
172      Amazon                     BetterAngel                  B083XXXSPN
173      Amazon                     Yunbo Office                 B09CL1SFQM
174      Amazon                     GRANYUM                      B082LSSBYF
175      Amazon                    BORYLI Group                  B091CLB73B
176      Amazon                     D-elfin Auto                 B093Z5RW7G
177      Amazon                  fan2schop discount              B00MB6JAFM
178      Amazon                       SUCAN                     B07QWKSBMT
179      Amazon                    GXYNB SHOP                    B08FXHVC9F
180      Amazon                      XmnDaue                     B0982ZHSB9
180      Amazon                      XmnDaue                     B09MS56VGL
180      Amazon                      XmnDaue                     B07ZRHS5V5
181      Amazon                       clothabc                   B08W2DQT28
181      Amazon                       clothabc                   B08VRVSL57
181      Amazon                       clothabc                   B08W2C6ZCB
181      Amazon                       clothabc                   B098XK3WV3
181      Amazon                       clothabc                   B098XHTZ9L
182      Amazon                        EcoBel                    B085HY8BZ3
183      Amazon                     yuanrongUS                   B06ZY4D7C9
184      Amazon                         Oclot                    B07Y54M7RY
185      Amazon                     USmartwatch                  B098JVC4H1
186      Amazon                   ROWiNSS Group                  B08LNZYSV6
187      Amazon                       GYPUS                      B083FW3PVK
188      Amazon                   Xiaomei Storeus               B08L9WTM9B
189      Amazon              foshanshiqijuyouxiangongsi          B08M45N2SH
                      chengduchaozhinengdianzishangwuyouxian
190      Amazon                        gongsi                   B07T9N2FD9
191      Amazon                       Mkictory                  B09DT1WJ8L
                       江北新区蕴雨悦百货店(“Jiangbei New
                      District Yunyuyue Department Store (Doe
192      Amazon                       192)”)                    B07DMJTNPN
193      Amazon                 TOPFFY Health Direct            B09JLT5WB8

                                        14
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194      Amazon                      linjunddd                 B097XV2GML
195      Amazon            BetterAngel GlassCraft Malls        B07XDG3T5V
196      Amazon                      PinDianZi                 B09993CLNR
197      Amazon                       Semme                    B08S3CKLSK
198      Amazon                     kdjfjhkjdhd                B074CGFY1H
199      Amazon                      zjchao123                B08SWKNRMM
200      Amazon                       LK--US                   B092LC2QGP
201      Amazon                      Guffo US                  B09GYF1SQ5
202      Amazon                       Winbor                   B09GF9XQCB
203      Amazon                   SFWX STORE                   B09H6W736Y
204      Amazon                       Onkessy                   B08F3GB94F
205      Amazon                   JED Finesdear                B075ZKX4JZ
206      Amazon                     OPSHJUZ                     B09JSZ16JQ
207      Amazon              MEIJINGJINGSHAOP                  B092Z5JNTV
208      Amazon                  MOGEN-Hands                   B07PNFHPQ1
209      Amazon                        Chlier                  B09K5QKVD1
210      Amazon                       Canyita                  B08ZNGDCC3
211      Amazon                       shi xuan                 B09KPP791W
212      Amazon                       ANIOT                    B091Y7B4X9
213      Amazon                  Quiero Esa Vaina              B09H4XRQ6P
214      Amazon                  MAMA SHOPS                     B081LJ7P9G
215      Amazon                    Fulegy USA                  B087C4SZHX
216      Amazon                        runaty                   B097XMS8JJ
217      Amazon             2017-HEXUCHUNSHOP                  B091MZ4SKW
218      Amazon                        S-tash                  B092W3FZRV
219      Amazon                     Hcandy-US                  B08CH37LRD
220      Amazon                       Neighor                   B0936JF3YK
221      Amazon                        salmue                  B07MH5QGJL
222      Amazon            福神3 (“Fukujin 3 (Doe 222)”)         B09MZ79NL4
223      Amazon                   StarOcean Tour               B07XXSLL87
224      Amazon                       Uandear                  B09CPXQ8MB
225      Amazon                      BDHSafa                   B07HTW29DD
225      Amazon                      BDHSafa                   B07K8BM92S
225      Amazon                      BDHSafa                  B07D3NWDZY
226      Amazon                      Vertigo us                B09377LQGG
227      Amazon                  Stars Shine Doll              B07TSZY41K
228      Amazon               Brand Accelerator--GT             B09JK711ZH
228      Amazon               Brand Accelerator--GT            B092HSSBY6
229      Amazon                 UNHULU_Official                B08JGQGQS1
230      Amazon                         korui                  B08YJB29WZ
231      Amazon                  alekssSSVV788                 B08LDBTLXR
232      Amazon                   H Eco-Friendly                B09JFR4JNY
233      Amazon                    Aliciashouse                B07518KJMX
234      Amazon                      zhiyong li                 B07PN9H163
235      Amazon                    MAWEATUS                     B09F8RS53Q

                                       15
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236       Amazon                  Abner Chapman               B09FNVMYX7
237       Amazon                     fengxiaoqin               B09JZVTL8R
238       Amazon           Lock Sourcing Limited 2010         B08NTYDMXT
239       Amazon        Phoenix furniture Kitchenware Malls    B08V8M993V
240      Banggood                     Banggood                    940077
241       DHgate                   Ladymm Store                 412262602
241       DHgate                   Ladymm Store                 412503642
241       DHgate                   Ladymm Store                 412503946
241       DHgate                   Ladymm Store                 412262937
241       DHgate                   Ladymm Store                 412503772
242       DHgate                   lilachina Store              392955071
242       DHgate                   lilachina Store              392955287
243       DHgate         Eyeswell technology co.,ltd Store      519675464
244       DHgate                 misszhouxl Store               449164909
245       DHgate                    S-Teck Store                398180422
246       DHgate              Santi Sora Corporation            405972752
247       DHgate              Comincan official Store           404955384
248       DHgate                monalisa2013 Store              413751130
248       DHgate                monalisa2013 Store              413435754
248       DHgate                monalisa2013 Store              413440142
249       DHgate                     meidy Store                413440308
250       DHgate               Makeup brushes Store             519300857
250       DHgate               Makeup brushes Store             405046364
250       DHgate               Makeup brushes Store             415384552
251       DHgate                  fz916745 Store                404364908
252       DHgate                  la_chance Store               439800011
252       DHgate                  la_chance Store               439799101
253       DHgate                    cocotu Store                414694353
254       DHgate                 blueberry05 Store              715519350
255       DHgate                     grega Store                628491308
256       DHgate         DHgate Recommended Store Store         639908423
257       DHgate                        Lenkii                  432728223
258       DHgate                dhgate_smile Store              442747085
258       DHgate                dhgate_smile Store              442746949
259       DHgate                   hnwindy Store                397063815
259       DHgate                   hnwindy Store                397064007
260       DHgate                 busyshiping Store              649863979
260       DHgate                 busyshiping Store              649700121
260       DHgate                 busyshiping Store              649751710
261       DHgate                       Jamesok                  423802578
262       DHgate               newsilkroad58 Store              454146223
262       DHgate               newsilkroad58 Store              410753780
263       DHgate                 beauty_rose Store              411220261
263       DHgate                 beauty_rose Store              411220326
264       DHgate             fashion_show2017 Store             404615823
264       DHgate             fashion_show2017 Store             429681512
                                        16
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265       DHgate                    eve2018 Store               478413350
266       DHgate               goodgoods2018 Store              470827527
267       DHgate              besgo homedecor Store             554372652
268       DHgate                  amazonlife Store              620226715
269       DHgate                      sd007 Store               651208845
270       DHgate                    lysw388 Store               462972424
271       DHgate                     ifree19 Store              523573781
272       DHgate                   ytlighting Store             563527643
272       DHgate                   ytlighting Store             478402869
272       DHgate                   ytlighting Store             704604487
273       DHgate                  toptrimmer Store              728428378
273       DHgate                  toptrimmer Store              728718851
274       DHgate                    Homesale2021                747324898
275       DHgate                    Rosedior Store              620225783
276       DHgate                    omn006 Store                651131622
277       DHgate                    omn007 Store                651131831
278       DHgate                       Mx_home                  634468962
279       DHgate                lotwholesaler Store             699487648
280       DHgate                      Besgogogo                 597495811
281       DHgate                   home2006 Store               634337572
282       DHgate                      eatout Store              633908321
283       DHgate                     sinabag Store              634899977
284       DHgate                 choeysen111 Store              624702689
285       DHgate                shaking_vape Store              655787123
286       DHgate                        Seradyse                705479531
287       DHgate                lightheartedly Store            719037655
288       DHgate                 million_store Store            728870192
289       DHgate                  freshbreeze Store             741772099
290       DHgate                beautifuleyes1 Store            741134727
291        eBay                          140861                143260184540
292        eBay                        13-bazaar               284155800068
292        eBay                        13-bazaar               284139525636
293        eBay                        13857_50                303643928413
294        eBay                      21st_security             123335678291
295        eBay                        3techmall               133939068452
296        eBay                        admystore               384260913907
297        eBay                       agnes.-8132              373855927730
298        eBay                       aivarsitems              393308500488
299        eBay                          aixigu0               133852119792
300        eBay                         aktd555                403392047053
300        eBay                         aktd555                403331019145
301        eBay                         akuijiexi              284502523963
302        eBay                       allinonestor             194567145816
303        eBay                    angelfashionltd             174047415913
304        eBay                         anlov-88               384299844708
305        eBay                        aosha_80                353793467361
                                       17
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306        eBay                       asptop8                  114723763717
307        eBay                       au_mart                  363661082733
308        eBay                        au-buy                  173832814090
308        eBay                        au-buy                  173832803758
309        eBay                     auto_park9                 174574386278
310        eBay               auto-department2018              265002105781
311        eBay                      baifengh                  154701405607
312        eBay                   baodelanshop                 165266229063
313        eBay                  bearbear-2010                 363672733257
314        eBay                   beauty_clubs                 194194859423
315        eBay                       bescase                  164987353350
316        eBay                   besteffie-852                353756462910
317        eBay                  bestshopunion                 164617811193
318        eBay                     bestt-2022                 115192848733
319        eBay                    besttrade360                164332716979
320        eBay                bettershopping360               154283701800
321        eBay                    beyourgoods                 133628162301
322        eBay                       bimaster                 144273001741
323        eBay                        bizbest                 264265875368
324        eBay                       bmkikig                  194736584392
325        eBay                        bpvll9                  194583406734
326        eBay                     brod3yooy                  144359127960
327        eBay                       careyw4                  154691795341
327        eBay                       careyw4                  154708353329
327        eBay                       careyw4                  154708353367
328        eBay                   casemart2014                 274828303806
329        eBay                   cctvipcamera                 223100646983
329        eBay                   cctvipcamera                 323392421269
330        eBay                   chairmanstore                402738065875
331        eBay                    cherrybuyly                 393330607513
332        eBay                     cloudtech1                 362683733550
332        eBay                     cloudtech1                 362694056875
333        eBay                      colorsleaf                144103441325
334        eBay                 comfort.home20                 294690705327
335        eBay                        coobuy                  143966875823
336        eBay                  cool-world-569                304277331959
337        eBay                     cuzongyi0                  265168393678
338        eBay                 cyber-innovation               403196582748
338        eBay                 cyber-innovation               403380353549
339        eBay                       dachtek                  313544475893
339        eBay                       dachtek                  313656996810
340        eBay                   dazzlegamese                 174871378564
341        eBay                 dealsonline2018                154689876502
342        eBay                     demo1818                   175067042263
342        eBay                     demo1818                   175037343601
342        eBay                     demo1818                   175037392697
                                      18
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343        eBay                     dengrmy-v                  393865114709
344        eBay                   dentaldeals22                353828566051
345        eBay                    dgsl201888                  393793455019
346        eBay                     dinosaurag                 194348956242
347        eBay                    discover-life               233941115361
348        eBay                     duoduo021                  284560063610
349        eBay                e-sell_online_store             313166622344
350        eBay                    eagershop21                 402749855888
351        eBay                    easylivingus                113977641131
352        eBay                     elec-master                384427843519
353        eBay                       elsiaeb6                 393184377913
354        eBay                   emilymama_0                  392814521918
355        eBay                    ermaoren26                  393651774680
356        eBay                 factoryselling100              115191168782
357        eBay                    fairtranshop                303891337146
358        eBay                fancyboutique_96                353792342157
359        eBay                    fashion-club                154594555451
360        eBay                         fastup                 125061012953
361        eBay                       fecobba                  353656138717
362        eBay                      firstmatch                293974554709
363        eBay                      flygoodly                 254817188474
364        eBay                     foreverway                 143365413957
365        eBay                       gas1338                  353676087036
366        eBay                    gdsl201888                  185172629720
367        eBay                   gionatan-shop                313556169541
368        eBay                   globebestdeal                133627418263
369        eBay                   good-jewelry8                392544458877
369        eBay                   good-jewelry8                313805466018
369        eBay                   good-jewelry8                144343265056
370        eBay                    goodislaa72                 353744290575
370        eBay                    goodislaa72                 353744288239
370        eBay                    goodislaa72                 353585049809
370        eBay                    goodislaa72                 353744288637
370        eBay                    goodislaa72                 353585046273
370        eBay                    goodislaa72                 353610004733
370        eBay                    goodislaa72                 353585047814
370        eBay                    goodislaa72                 353585052389
370        eBay                    goodislaa72                 353585045245
370        eBay                    goodislaa72                 353585052274
370        eBay                    goodislaa72                 353610005032
370        eBay                    goodislaa72                 353744287268
370        eBay                    goodislaa72                 353610005329
370        eBay                    goodislaa72                 353610004659
370        eBay                    goodislaa72                 353610005260
370        eBay                    goodislaa72                 353610004793
371        eBay                    goodmart99                  175043973636
                                      19
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372        eBay                   goodshopstore                143929168353
373        eBay                     greatislandy               353771932719
373        eBay                     greatislandy               353321088865
374        eBay                   green_organics               185235190130
375        eBay             greenhouseholdmarket2017           224372113856
376        eBay                         hailitech              255327456526
377        eBay                      hamado-de                 174119410167
378        eBay                     hanzhexuan                 174570691548
379        eBay                    happy_value1                334212370157
380        eBay                     harmony038                 313786244884
381        eBay                        health168               313826735562
381        eBay                        health168               313802646853
381        eBay                        health168               313836719386
382        eBay                   hi-beauty2021                185224622265
383        eBay                       hivepeeks                224664242000
383        eBay                       hivepeeks                224639183007
383        eBay                       hivepeeks                224664247451
383        eBay                       hivepeeks                224716649044
383        eBay                       hivepeeks                224716648510
383        eBay                       hivepeeks                224664242361
383        eBay                       hivepeeks                224639183116
383        eBay                       hivepeeks                224614188151
384        eBay                  homesale_estore               353183705752
385        eBay                  ibeautyshop4uu                313688217484
386        eBay                   icbuynewgift4                144257929446
387        eBay                          ifxue9                393327921195
388        eBay                 infinitive_imports             263387884745
389        eBay                       ingsharm3                224027004634
390        eBay                          innens                265200228727
391        eBay                      insmastore                165266128332
392        eBay                    ip-camera-88                401580928190
392        eBay                    ip-camera-88                401581342679
393        eBay                        itechcool               144353100506
393        eBay                        itechcool               363680149037
394        eBay                         jemscat                304015867858
395        eBay                        jhu8-356                175042401361
396        eBay                     jianjianstore              224762538757
397        eBay                     jinshan2013                133995688230
398        eBay                   johnblackstyle               353798804436
399        eBay                          kahhen                313593418592
400        eBay                         kaidi55                265423648700
401        eBay                     kesamara-20                384324024621
401        eBay                     kesamara-20                384232332979
402        eBay                    kevin920406                 175069564064
403        eBay                      kunjiadaren               143876728740
404        eBay                     laptop-cyber               154550035758
                                      20
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404        eBay                   laptop-cyber                 164151700460
405        eBay                        lecwiss                 174984499248
406        eBay                    lifeparadise                203691354154
407        eBay                      lilybeibei                164461273658
408        eBay                    linasstore77                383936175068
409        eBay                      linli-6163                124956448043
410        eBay                        linuras1                353854751955
411        eBay                         ll_long                313576444041
411        eBay                         ll_long                313582976308
412        eBay                       lomantal                 185243612662
412        eBay                       lomantal                 185243615738
413        eBay                    love2sunny                  324748593920
414        eBay                    lovebaba78                  333993382046
415        eBay                    makeup365                   323629694331
415        eBay                    makeup365                   323392246148
415        eBay                    makeup365                   323392234161
416        eBay                  mall-accessory                174704928041
417        eBay                   marsch_797                   373844101103
418        eBay                  marvelparadise                203592012319
419        eBay                 medicaltrust2014               115158909198
420        eBay                   megastore-by                 324918141563
421        eBay                  mhestore2009                  294611281668
422        eBay                     michelleriu                384674439149
423        eBay                     mingreayie                 125066353099
424        eBay                     mkygloble                  143868802273
425        eBay                     mobile-fix                 324989973662
425        eBay                     mobile-fix                 324810981454
426        eBay                   mobilerange                  263729517709
426        eBay                   mobilerange                  263747048711
426        eBay                   mobilerange                  263729517709
427        eBay                  modernlife100                 363670539699
428        eBay               moonlight_dreamer365             174790444295
428        eBay               moonlight_dreamer365             174795613423
429        eBay                     moshyjeep                  313620510632
430        eBay               mpow_officialstore_us            373866521306
431        eBay                      mtrxmtrx                  164827082871
431        eBay                      mtrxmtrx                  164829776857
432        eBay                   new2018cctv                  323395482226
433        eBay                  newage_store                  164903403950
434        eBay                 newagecompany                  224618612366
435        eBay                 newchance36599                 324798522771
436        eBay                       ngljy-15                 304266651223
436        eBay                       ngljy-15                 304266651428
437        eBay                      nimzz_98                  373708274787
438        eBay                  noveltytech24                 313672691833
438        eBay                  noveltytech24                 313550299271
                                       21
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439        eBay                       orange.dot               165226616830
440        eBay                     pabloom168                 224361101959
441        eBay                      parts_easy1               334125612270
442        eBay                        pingzh-9                373808844208
442        eBay                        pingzh-9                373808844074
443        eBay                     pop.music20                125038785411
444        eBay               popularization_usa_store         274126273812
445        eBay                      priceextrem               264933944822
446        eBay                      pyjklgtdvcs               403328565780
447        eBay                      qinmeili888               403345311083
448        eBay                        quinnqui                373696595479
449        eBay                    radhaswami_3                265237698659
450        eBay                       rainway87                265494792144
451        eBay                       ravlaks_74               353760525050
452        eBay                       regcrom91                403285731981
453        eBay                       rideksshop               114534797157
454        eBay                     rose_store88               174344153995
455        eBay                      ruby-redsky               291487546432
456        eBay                     s_l_products               284404621465
457        eBay                        saibamai                124607765392
458        eBay                         self522                373761298554
458        eBay                         self522                373761298593
459        eBay                    sellingplus100              403062883779
460        eBay                        shan2392                265433542910
461        eBay                  shanghai123456                124855883149
462        eBay                       shiniaoduo               393780291292
463        eBay                   shopdazone_us                203767865265
464        eBay              shoppingfashionstuff2013          265022033064
465        eBay                   shoppingg_joy                293622574202
466        eBay                    shuangtai-elec              154792965080
467        eBay                       siafortstore             303108836273
468        eBay                    silentmusic16               234372399904
468        eBay                    silentmusic16               234208884462
468        eBay                    silentmusic16               234372400611
469        eBay                         since97                384546880358
470        eBay                      slgd201888                203610417267
471        eBay                      smalltowny                393234623489
472        eBay                     socofysocofy               403127412313
473        eBay                       somerha39                313743741032
474        eBay                    sporting_mall               203791412729
475        eBay                         ssg2019                233971101555
476        eBay                          st-elec               265498660760
476        eBay                          st-elec               265498644405
477        eBay                   sunny-findings               384412017271
478        eBay                   superdeal_store              174069904476
479        eBay                   sweet.goods93                403266225709
                                        22
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480        eBay                         tanlarua               362724634610
481        eBay                    techlink2005                303895283206
482        eBay                       teej-8100                353083584695
483        eBay                      tianxingxx                185028898302
484        eBay                       tineruat-1               175055601202
485        eBay                       tiqscq-51                393742399960
485        eBay                       tiqscq-51                393697353045
485        eBay                       tiqscq-51                393742377125
486        eBay                     topsupply-8                403276498155
486        eBay                     topsupply-8                403307451995
487        eBay                   travelaround9                274958022832
488        eBay                        tztn9_30                373805743058
488        eBay                        tztn9_30                373805766833
488        eBay                        tztn9_30                373805760473
488        eBay                        tztn9_30                373805780758
489        eBay                         uakin50                224720908259
490        eBay                          uccgg                 153964427193
490        eBay                          uccgg                 153964427276
491        eBay                         uk-pepi                193211770113
492        eBay                    ulike_camera                312226152220
492        eBay                    ulike_camera                312226310933
493        eBay              ultimatekoreanproducts            255263988117
494        eBay                 uniquegadgets786               174872576051
495        eBay                      unvo5542                  324577541276
496        eBay                    usa-cyberlink               363017601402
496        eBay                    usa-cyberlink               284076328433
496        eBay                    usa-cyberlink               284343338227
497        eBay                        usacyber                363265220586
497        eBay                        usacyber                193842567821
498        eBay                   usgadget-tech                163654543044
498        eBay                   usgadget-tech                144361460671
498        eBay                   usgadget-tech                164653764590
498        eBay                   usgadget-tech                133987723858
498        eBay                   usgadget-tech                131855419134
498        eBay                   usgadget-tech                165279617303
498        eBay                   usgadget-tech                133992499723
498        eBay                   usgadget-tech                165280475558
499        eBay                     venoromall                 174936850705
500        eBay                   visionpower16                254624664658
500        eBay                   visionpower16                253811981695
501        eBay               watchband_emporium               224009286109
502        eBay                    water-master                265296963776
502        eBay                    water-master                255248986573
503        eBay                   windows-7777                 313782063731
503        eBay                   windows-7777                 125037245643
504        eBay                        wlida-tc                284605416831
                                      23
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505        eBay                  worldtrade100                 174574567708
506        eBay                    xanthesaul                  165089631141
506        eBay                    xanthesaul                  165089633822
507        eBay                  xianggufeiniu                 403420857515
508        eBay                    xiaolinglee                 393769082427
509        eBay                     xixi_style                 294207388552
510        eBay                     yankey87                   294340618865
511        eBay                      yaraesm                   224135122419
512        eBay                  yew.fashion20                 363681795620
513        eBay                      yirlck72                  304255387005
513        eBay                      yirlck72                  304255551906
513        eBay                      yirlck72                  304255544436
514        eBay                    youci_2019                  185209229733
515        eBay                  your_dreams1                  125010777944
516        eBay                  your.best.price               284588374787
517        eBay                      yousee-c                  123810820449
518        eBay                   yqs120xiong                  125051383762
519        eBay                   ytdazmarket                  313543589071
520        eBay                     yuetongon                  393020231271
521        eBay                     yuhuan44                   304265722902
522        eBay                  yuyemaoyikeji                 294639776685
523        eBay                   zanzea_show                  125083271828
523        eBay                   zanzea_show                  124989466869
524        eBay                     zenictech                  284587868440
525        eBay                  zhongelesales                 353299091141
526        eBay                     zqew7_59                   294602039005
526        eBay                     zqew7_59                   294602038500
                                                          6100c7652350610178f77
527        Joom                      Jerrial                        0f8
                                                          610250eeed741601a10f95
528        Joom                   WalkerJerry                        40
                                                          6100b2182350610178f37
528        Joom                   WalkerJerry                       f84
                                                          60ffc2c22616e3017ba0ec
529        Joom                     LifeMall                         b7
                                                          6100b25d2350610178f38
529        Joom                     LifeMall                        5e3
                                                          6102508887b6c401f9c57
530        Joom                   China Mall                        6b0
                                                          5ed620f628fc7101017957
531       Joom                  zhijingmeizhuang                     33
532      Newegg                      Acelotti                0NW-014X-002R7
533      Newegg                   EasternGood                0BM-04MK-00953
534      Newegg                       Enjonir                0NW-014X-000N3
536      Newegg                     guyuehok                  1X3-0073-00086
537      Newegg                      Livesture               0NW-014X-002T6
                                      24
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538      Newegg                       Lotinni                       0NW-014X-002R6
539      Newegg                      neseage                         0DJ-08P7-000G9
540      Newegg                     Niceartutu                       0D4-00FB-00108
541      Newegg                      Redbey                          0D4-00FB-002F5
542      Newegg                    Royal beller                     0NW-014X-00643
543      Newegg                    Royalbeller                      0NW-014X-00419
544      Newegg                      ynaheim                        0NW-014X-00416
                                                               4pcs-anti-snoring-device-
                                                               silicone-magnetic-clipple-
545       Shopify                   b-best4u                           snore-stopper
                                                                mini-anti-snoring-snore-
                                                                stopper-device-silicone-
                                                                  nose-clip-sleep-noise-
546       Shopify                 completerange                             guard
547       Shopify                divinehomestore                   divine-snore-stopper
                                                                   anti-snoring-devices-
548       Shopify                  gearbybear                             clear-8pk
                                                               anti-snoring-for-sleeping-
549       Shopify                iconicgalsecrets                      snore-stopper
550       Shopify                    Zeenity                        anti-snoring-device
                                                                1-4pcs-anti-snoring-anti-
                                                                snore-nose-clip-silicone-
                                                                snoring-solution-device-
                                                                 snore-stopper-sleeping-
                                                                aid-nasal-dilators-health-
551       Shopify               medicalnewstoday                             care
                                                                  silicone-anti-snoring-
552       Shopify                  reach-idea                     device-by-reachidea™
553       Shopify                 SleepDreamz                         778844012563
553       Shopify                 SleepDreamz                          14746553287
                                                                 1pc-silicone-nose-clip-
                                                                   magnetic-anti-snore-
                                                                 stopper-snoring-silent-
                                                                 sleep-aid-device-guard-
                                                               night-anti-snoring-device-
554       Shopify                   spacemar                             health-care
                                                                 magnetic-anti-snoring-
                                                                septum-nose-plug-snore-
555      Shopify               Travel Professionals                 stopper-sleep-well
556      Walmart                    Novashion                           217566371
557      Walmart               Better and Easy Life                     362401557
                     Shenzhen Ruimiaoqian Network Technology
558      Walmart                     Co.,Ltd.                         568312878
559      Walmart                    Youhuaxin                         212418043
560      Walmart                   Beauty Mall                        760067996
561      Walmart                     Rdeghly                          594023576

                                       25
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562      Walmart                     VISLAND                    330325655
563      Walmart                      Pero pio                  633995061
563      Walmart                      Pero pio                  719333829
564      Walmart                   Octpeak Store                869063321
565      Walmart                       Cheers                   679596137
566      Walmart                     ACOUTO                     336352019
567      Walmart                UR BEST CHOICE                  816364992
568      Walmart                       Fyydes                   806055636
569      Walmart                   Anggrek Store                285368466
570      Walmart                    US DEALS                    159570846
571      Walmart                     Cool BUY                   722121626
572      Walmart                    Trendy Mall                 929543675
573      Walmart                  Superior Central              337982540
574      Walmart               MAVIS LAVEN Store                571458192
575      Walmart                  Exclusive OutLet              638138482
576      Walmart                   Wonderful buy                625084043
577      Walmart                   GearUP Store                 703278640
578      Walmart                    Fancy style                 695016471
579      Walmart                    World Deal                  403583215
                      Shenzhen Linglangxi Network Technology
580      Walmart                      Co., Ltd.                 436858990
581      Walmart        Qingtian Diaocheng Trading Co., Ltd.    614250575
582      Walmart                    SELLCLUB                    160728352
583      Walmart                    ArtmyHome                   637275972
584      Walmart                      AnFeng                    654403189
585      Walmart                    Free Choice                 766751112
586      Walmart                     Techonline                 306288819
587      Walmart                  LesoGood Shop                 275143940
588      Walmart                   Light UR Life                946369556
589      Walmart                 Beauty Home life               948585417
590      Walmart                    FTVOGUE                     299097248
590      Walmart                    FTVOGUE                     785315790
                     shenzhenshimeihuidawangluokejiyouxiango
591      Walmart                        ngsi                    129040440
592      Walmart                Yanxin Keji Youxian             787627429
593      Walmart                    DreamHouse                  707365902
594      Walmart                        Farfi                   947355186
595      Walmart                      Walbest                   470202039
596      Walmart                     Live Better                667959730
596      Walmart                     Live Better                432056872
596      Walmart                     Live Better                307374409
596      Walmart                     Live Better                288323243
597      Walmart                    Daciye LLC                  611824448
597      Walmart                    Daciye LLC                  763722985
598      Walmart                   Winner to Buy                173701771
598      Walmart                   Winner to Buy                803002460
                                       26
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598      Walmart                   Winner to Buy                 422990145
                     shenzhenshiyuekedianzishangwuyouxiangon
599      Walmart                         gsi                     366952433
600      Walmart               YOUTHINK STORE                    951235030
601      Walmart                    BIOSA LLC                    554715257
601      Walmart                    BIOSA LLC                    904942308
602      Walmart                       Toutek                    857257571
603      Walmart                    zhaomeidaxi                  411494101
604      Walmart                      Ms.Dear                    631640021
605      Walmart                      Bergwerk                   238547038
605      Walmart                      Bergwerk                   700943820
606      Walmart                      Everpert                   732172469
606      Walmart                      Everpert                   154572295
607      Walmart      shenzhenshihuiyaxinmaoyiyouxiangongsi      627784170
608      Walmart                 LAFGUR STORE                    665764027
609      Walmart                    ASE STORE                    962790128
609      Walmart                    ASE STORE                    615507201
610      Walmart                    Newest Shop                  807653567
611      Walmart                      Top Store                  851938907
611      Walmart                      Top Store                  816236863
611      Walmart                      Top Store                  369538520
612      Walmart                Sunshine store Line              999673526
612      Walmart                Sunshine store Line              824946444
613      Walmart                       Sunsent                   312389241
613      Walmart                       Sunsent                   123321983
613      Walmart                       Sunsent                   143257164
614      Walmart                     AT-Home                     592242662
614      Walmart                     AT-Home                     983357807
614      Walmart                     AT-Home                     621051260
615      Walmart                   Mumaoyi INC                   695766925
615      Walmart                   Mumaoyi INC                   852711564
615      Walmart                   Mumaoyi INC                   352726191
615      Walmart                   Mumaoyi INC                   909974119
616      Walmart     Shen Zhen Shi Zheng Ying He Ke Ji Co.,Ltd   877015977
617      Walmart     shenzhenshiliangfurongmaoyiyouxiangongsi    755553865
618      Walmart                     FLOF LLC                    754708881
618      Walmart                     FLOF LLC                    290124005
619      Walmart                      jinsenhg                   273022829
                     Shanghai xiaoxiang dianzi shangwu youxian
620      Walmart                       gongsi                    397368182
621      Walmart                   Lianwany INC                  848163755
621      Walmart                   Lianwany INC                  187080470
622      Walmart                     Sihua INC                   444094929
623      Walmart                     Me Beauty                   340603712
624      Walmart                  Dowell Network                 973678972
624      Walmart                  Dowell Network                 620033819
                                        27
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625      Walmart       Hefeiyuanzhenshangmaoyouxiangongsi       585759353
626      Walmart                       Dallas                   664440983
627      Walmart                      TYNLED                    350304197
628      Walmart                      seronyiar                 890339505
628      Walmart                      seronyiar                 269918840
628      Walmart                      seronyiar                 644767561
628      Walmart                      seronyiar                 502074705
628      Walmart                      seronyiar                 362964940
                      FOSHANSHIFANMEIKEJIYOUXIANGO
629      Walmart                        NGSI                    111067709
630      Walmart                   CenturyProsper               783673357
631      Walmart                  MOOSUNGEEK                    990247142
631      Walmart                  MOOSUNGEEK                    613869922
631      Walmart                  MOOSUNGEEK                    513565817
631      Walmart                  MOOSUNGEEK                    945861945
632      Walmart       kaifengjianbenshangmaoyouxiangongsi      402657391
632      Walmart       kaifengjianbenshangmaoyouxiangongsi      824896704
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    330164037
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    313688809
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    164317582
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    280379582
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    428561278
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    822456584
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    410432416
                     shenzhenshidexianghetaimaoyiyouxiangongs
633      Walmart                           i                    384329491
634      Walmart     shenzhenshibaipinyouyimaoyiyouxiangongsi   746414620
634      Walmart     shenzhenshibaipinyouyimaoyiyouxiangongsi   834727841
634      Walmart     shenzhenshibaipinyouyimaoyiyouxiangongsi   710334656
635      Walmart                       Hejing                   757292518
635      Walmart                       Hejing                   755306108
                     beihaishihongjiudianzishangwuyouxaingong
636      Walmart                          si                    984165231
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                         ngsi                   400154519
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                         ngsi                   311020896
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                         ngsi                   348451009
                                       28
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                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                          ngsi                  710509826
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                          ngsi                  697124319
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                          ngsi                  171928214
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                          ngsi                  690508212
                     beihaiyuanxinkangdianzishangwuyouxiango
637      Walmart                          ngsi                  161073407
638      Walmart        kaifengzhenyanshangmaoyouxiangongsi     374689697
                     hengyangpuxingdianzishangwuyouxiangong
639      Walmart                           si                   132824767
                      sichuanchenghongtaidianzishangwuyouxian
640      Walmart                         gongsi                 334845156
                      sichuanchenghongtaidianzishangwuyouxian
640      Walmart                         gongsi                 203956561
                      sichuanchenghongtaidianzishangwuyouxian
640      Walmart                         gongsi                 871779604
                      sichuanchenghongtaidianzishangwuyouxian
640      Walmart                         gongsi                 619263899
641      Walmart       yiwushilongmandeqimaoyiyouxiangongsi     403641815
641      Walmart       yiwushilongmandeqimaoyiyouxiangongsi     763715109
641      Walmart       yiwushilongmandeqimaoyiyouxiangongsi     985210747
                     shenzhenshiyangbomingyuanmaoyiyouxiang
642      Walmart                         ongsi                  719105710
643      Walmart                       xinlonyao                447369674
643      Walmart                       xinlonyao                914984759
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     389932018
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     391523359
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     864521956
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     383113576
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     647734362
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     359552344
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     702855858
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     910573999
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     483403975
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     656486044
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     522378463
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     669279336
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     818837847
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     207851603
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     310458005
644      Walmart         zhengzhouqitishangmaoyouxiangongsi     603262340
645      Walmart        kaifengqingjianshangmaoyouxiangongsi    975565983
645      Walmart        kaifengqingjianshangmaoyouxiangongsi    645418514
                                       29
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646      Walmart     zhengzhoubiansongshangmaoyouxiangongsi         301041268
647      Walmart                  CPYK STORE                        841141562
                                                              60530b14e8629f8870668f
648        Wish                     lovemoly                             eb
                                                              5f6b14da2da55918a6567
649        Wish                  Cute Fat Mango                         494
                                                              5d5cbf51c110c3517cf2e9
650        Wish                      chineon                             ec
                                                              6052c5f8e8629fc6f5668f
650        Wish                      chineon                             4e
                                                              60505c9e5d7b17b549b4a
651        Wish                       Isfang                            96c
                                                              5d5cbf775965a4286489d
651        Wish                       Isfang                            1bb
                                                              5d5cbf6eedf5a523c06f4d
652        Wish                    FY Trading                            b5
                                                              609113ffe4ec2dd9836997
653        Wish                    haohanstore                           3d
                                                              55a27b1b693d4e41aa9e1
654        Wish              zheng chao Foreign trade                   caf
                                                              61aac2bb364cdce5a2986d
655        Wish                   Rosa Rugosa                            eb
                                                              59cb5d46d88b05789d942
656        Wish                      Holala                             005
                                                              5bf3bba6807db26adc662f
657        Wish                      SSHY                                8d
                                                              607546dcc7d2c72dd8f90
657        Wish                      SSHY                               b54
                                                              5e4a54e247958c1600e51
658        Wish                  Amazing China                          08c
                                                              57b5795b73c6a62832c7b
659        Wish                  beautyday2015                          5ef
                                                              601ce959347c2c4b66e2ee
660        Wish                    luckyleaves                           15
                                                              58f06a84b0458856e8893
661        Wish       shenzhenmanmanrimaokejiyouxiangongsi              e57
                                                              575add25b4e49f60bbb7e
662        Wish                  gerenwanglilong                        407
                                                              6005499b4d77870fb3f9da
663        Wish                     GenuDeal                             20
                                                              5716dacbac3dd50e4d19e
663        Wish                     GenuDeal                            1a3
                                                              58b90bdb643c967ac8c48
664        Wish                      boston8                            3fb
                                                              5cdbd10fb5d96738ac4a73
665        Wish                     juheng02                             7c

                                       30
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                                                             601ca8f92d8ae76e0f5396
666        Wish         yiwushiqianbianshipinyouxiangongsi              52
                                                             5f51df4bfb712c100d8e41
667        Wish                    Man YingLi                           46
                                                             5e7afa71fe7d92072702be
668        Wish                     ruifenglan                          79
                                                             5721b4db20a0bf5d0938a
668        Wish                     ruifenglan                         5a1
                                                             5dc0d02454b1c50349874
669        Wish                   Special-offerly                      9d1
                                                             5dc00b7396703c47e2b10
669        Wish                   Special-offerly                      bd0
                                                             60766875d80c52ef61016
670        Wish                       pumio                            52b
                                                             60d44bc96d07143257549
671        Wish                  Golden pleasure                       98d
                                                             5f767f848e402900479902
672        Wish                    Cheap Deals                          f3
                                                             57bed827d883d96208427
673        Wish                 dreamcomereality                       7db
                                                             5ef305cecb13ab485cfa34
674        Wish                      Starsun                            15
                                                             5bcfefa14c65681b544270
675        Wish                      hohohai                            38
                                                             5efaf26fd5898b227869fe
676        Wish                    Corner-door                          15
                                                             5c498ecde833283464949
677        Wish                       Smily                            75c
                                                             5fe069a5b75d2e68a98bef
677        Wish                       Smily                             f0
                                                             5bc9a66fe690e3170bc174
678        Wish                 FashionHouse888                         3c
                                                             5bc6e5ca7717bb6e7246cc
679        Wish                     castle668                           af
                                                             6094ff844d6de51f036304
680        Wish                   handballshou                          e8
                                                             5bc6fca2f24c4b57f4a38c
681        Wish                    Dotfashion                           42
                                                             581fccd11bf30d59118b76
682        Wish                       stroll                            7c
                                                             60208bab9e018d586c8cd
683        Wish                      Bamaul                            357
                                                             5e4792d16995f83e9826af
684        Wish                      Mantina                            89
                                                             612cc764c4a58a5dd59b6
685        Wish                        son                             91b

                                       31
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                                                          5d42b0f794c3ad06201a0
686        Wish                    Homesick                         40d
                                                          59f2c6c31b304a35b161b
687        Wish                   iMeMyMine                         d9b
                                                          61693f5709bea91ee89ce2
688        Wish                     gdsz328                          32
                                                          58f072fbc3118e3965395a
689        Wish                     Shhssvv                          4d
                                                          5e143feadcf63179ad715b
689        Wish                     Shhssvv                          1a
                                                          5fe065ba94a45e4e3ff6c7
690        Wish                    Tigersbaby                        50
                                                          5fe065bdcf4c502f244aa0
691        Wish                    Fairy tale Q                      a8
                                                          61aac2cffb295b52a10627
692        Wish                    sveta_julia                       4f
                                                          5a3c60ebff96b66f6fcaed7
693        Wish                       bczm                            f
                                                          5f8eb34e9fb6d51c9e0502
694        Wish                    guozhixinli                       d2
                                                          58f72c3c8e6d2d6978d7d
695        Wish               Caicai Dry goods shop                 5b5
                                                          60754a26b1bd9c3f01d05
695        Wish               Caicai Dry goods shop                 424
                                                          601cf32672d7684c891d2
696        Wish                      Hatch                          2ab
                                                          5ea3b3d0036e05197c2ee
697        Wish                   MengKunqi                         254
                                                          5b7668f2b0db422552444
698        Wish                     yuhuihai                        072
                                                          5eb51164140e2b2ec3accc
699        Wish                     houzihao                         42
                                                          603ea97f7f0b5c94f39b8f
700        Wish                     XCYuan                           01
                                                          61aac2db317a26dd23f222
701        Wish                    boundlesy                         ee
                                                          61a4ecdac4cbf45ed9b83c
702        Wish                     C9Dshop                          75
                                                          60ade0088eaafce2a8d71d
703        Wish                       prpr                           92
                                                          5f9f64eb72b3c790316fe7
704        Wish               wanlinglingdedianpu                    c9
                                                          61aac2f71b37d8ac24146e
705        Wish                    fanhairong                        c2
                                                          5be94d048ce4990201c67
706        Wish                  somehow never                      c5e

                                       32
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                                                          5f4a1f9d3328c7170a5bed
707        Wish                    alpharush                         d8
                                                          60d68cf69dec2bc76fd532
708        Wish                   wuxianglan                         36
                                                          61aac2e3711b150cd25cd
709        Wish                     spreadna                        2a3
                                                          5eb508eb454da92e232da
710        Wish                     Yucattle                        3b4
                                                          5d81ee9ddd59b22dbc82a
711        Wish                    Fibreskate                       0dc
                                                          61aac2ec3247a143fb988f
712        Wish                  mixiaoya0520                        9d
                                                          5d5a699d0cbbd11ee8ff9e
713        Wish                   buyinhk2017                        b3
                                                          5cf60d311a16105d7e77d
714        Wish                   Happytree98                       73d
                                                          5dfb3b14493f630cb07962
715        Wish                     vivianjj                         16
                                                          5a59636489889924da14b
716        Wish                Smart - Kids Juicer                  efe
                                                          59882eb195011269d2ed9
717        Wish                HardwareVipStore                     94b
                                                          5a2d3129325cf44ec97b2c
718        Wish                    linpinshop                        57
                                                          599e3c9e9a9e3632a18d6c
719        Wish              Vip Trend Jewelry Shop                  ac
                                                          59b0174d0da8cb70c7ce8
719        Wish              Vip Trend Jewelry Shop                 b18
                                                          5fe069f58b61dc6e29e08b
720        Wish                  FiveDaoxiang                        c8
                                                          5c21df754449d6230af9b6
721        Wish                  songjiafu1927                       a5
                                                          5c247af2bde3ec229bd275
722        Wish                     HPPMM                            0b
                                                          5a1e71f5eceb080c009143
723        Wish                ywcompeteyouth03                      b6
                                                          61aac2f6f9773228b165e1
724        Wish                   candycemin                         b1
                                                          61519d539e47c612aa73a
725        Wish                    Fernande                         e10
                                                          5d6ccedba233d940c70d4
726        Wish                     storebar                        97c
                                                          5d9c37e4c547536152abe
727        Wish               xiaotongbaobaodedian                  4bc
                                                          6056fe335561a8fbb05ed3
728        Wish                   HaihaiStore                        7c

                                      33
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                                                          5cd532442b1b246e2479c
729        Wish                   DH1Glimitd                        fd3
                                                          5af54cd360d6ad146f8fc9
730        Wish                   CHHHHshop                          2a
                                                          610e44990a478430e517b
731        Wish                goodthinklinethere                   deb
                                                          5f48a2c4f738870442374b
732        Wish                     fullDawn                         a9
                                                          610120137c206fcc94b8a5
733        Wish                   Endlessvaste                       ee
                                                          5adf12be3c1dc6285dd89f
734        Wish                 shanshandeshop                       bf
                                                          5c89fbf98c82b916fbead4f
735        Wish                   nanxinxiaojie                       f
                                                          5d42b6b92056e33990151
736        Wish               Tan Xi Cun Xiaodian                   edf
                                                          5f4b605c428293326d2e7
737        Wish                   yiwusunshine                      2dd
                                                          5ea1452342f03b4800799
738        Wish                   zhouruying8                       2f5
                                                          5fb4dcf1967c7e2c6d0395
739        Wish                   Allure Lover                       62
                                                          5f58b8606a82d51971c72
740        Wish                      joeyyy                         061
                                                          6093eec5b46e6c9f412fa0
741        Wish                      caijiani                        bd
                                                          605c2350b005d7d06a306
742        Wish                    hyeppw58                         ef3
                                                          606fa89495d61e731b707
743        Wish                 LiuYa smileshop                     a88
                                                          5e454266a1764a888b6b6
744        Wish                      Iodekg                         4db
                                                          5ec233696831cc1c2e0d9
745        Wish                 thanRitaj Schmidt                   825
                                                          6083e047f3a2871ec9371b
746        Wish                    Maosheng                          27
                                                          5e143d204348ce7994bf6
746        Wish                    Maosheng                         d45
                                                          5e5e29f27c993a59f72021
747        Wish                 Miss huping shop                     a7
                                                          5fd0941fd7f7a34963a98f
748        Wish                      yunliss                         9f
                                                          5e57545f60f35b330ffff97
749        Wish                       cuitt                           0
                                                          5e5e29dea6358226c0054
750        Wish                   Suoqins shop                      c2e

                                       34
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                                                          5fd094aa3859cf52153e0a
751        Wish                   winterflower                       08
                                                          5e5dd25d4a8063273d333
752        Wish                     kingying                        891
                                                          5e60bea0d1e075d0fdc173
753        Wish                  WUDIhahaha                          27
                                                          5e5dd23b484e1f1443733
754        Wish                  supermarkerqin                     02f
                                                          5e57554f09d3e033486cae
755        Wish                  CHANGO665                           04
                                                          607118aef13672c984e238
756        Wish                   huoxing1713                        fb
                                                          5e5755dda0ba683312b40
757        Wish                  AIKEmeng335                        861
                                                          6183a1939d54c16d5fd79
758        Wish                  yan20198888                        1c0
                                                          609c8fddd9d4b74b77f5b0
759        Wish                   KVANACE                            fd
                                                          5fd094dfd5198263b1798
760        Wish                    BRHTbhet                         9a9
                                                          5e5dd24a1876df28524bf5
761        Wish                 XIAORONG1014                         5f
                                                          5e60be95672798d16eb99
762        Wish                  Radiator carpet                    3c1
                                                          5e58cf6ca4d6401a00eb0d
763        Wish                   xiueshangpu                        b4
                                                          6049ce74dd30d82c71813
764        Wish                XIAOBAICAI123                        c77
                                                          5e382af4b36ec633827165
765        Wish                     YS1909                           30
                                                          6123037a368c85796e36c
766        Wish                   chendan3175                       38d
                                                          5d91b9f56bea930b0a314f
767        Wish                    Ruongzian                         17
                                                          610d077760702f0081572
768        Wish                     Skylaya                         e33
                                                          601975572e0a068502059
769        Wish                     WanDi                           1b8
                                                          5ee89eb1b698912d62047
770        Wish                  huang2019929                       0e9
                                                          608d1c7c052af1e749aa14
771        Wish                   YiBaiLiXia                         f7
                                                          60218230da4deecce36a88
772        Wish                   S_shaozhuo                         36
                                                          5f33b42035f813003cd9fa
773        Wish                    Neoscrim                          33

                                      35
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                                                          60544ef6435b3670ff98b0
774        Wish                    FACAIlei                          90
                                                          5df1fcfa0062b00cc20f1c5
775        Wish                   Plaster Care                        a
                                                          5ecd024ffd6a323f419c1c
776        Wish                   editorialpsp                       e1
                                                          6098f887a5d09f16bc7e57
777        Wish                   junjunheny                         a3
                                                          5f72ae8d54c3300b5e55fe
778        Wish                    nngbufnri                         78
                                                          5eb801d8fff042d1881005
779        Wish                   Wioiostore                         3b
                                                          604f2dfd5897fec97daf08
780        Wish                     Laint1                           31
                                                          5f117ad190867e6b426da
781        Wish                  jonascooopeer                      046
                                                          6051c36e7bdb714c5b724
782        Wish                    maurieya                         fdb
                                                          5f55d21e60b0f5004f87de
783        Wish                  HansikonggSg                        12
                                                          60764dd0d32de8a8f65e6
784        Wish                  33ap7bmxsmrq                       d6e
                                                          6065717546757937f3631
785        Wish                happy dashan store                   5ba
                                                          60df96e244972bd0e4648
786        Wish              RandolphMaxinewQzAw                    39b
                                                          60a1949a0766a6c684e62
786        Wish              RandolphMaxinewQzAw                    4ee
                                                          5f8a85e22a015f021bc947
787        Wish              JonathanHiramnOhOoG                     c7
                                                          5f7b1e55acc22ea3814875
788        Wish                     Top180                           35
                                                          5fb3d6b688fc33baa4c646
789        Wish                     JGB888                           d1
                                                          6051c5166a8b2b4d2094e
790        Wish                   shawnkexwu                        b6d
                                                          5f50bf86ac0afa15af2eb8b
791        Wish                     sixihaya                          d
                                                          5f6ae35aa01b2106be84d6
792        Wish                JINQIANGmei0423                       cd
                                                          5f648ee8c650b702b3aa34
793        Wish               JHSDBVK BSD51515                       c2
                                                          618dc9d081fb6a19ef7c24
794        Wish                    Domcxry                           2b
                                                          609f28426bd61c5b6becf0
795        Wish                YinxinDecoctionjS                     7c

                                      36
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                                                          600b26610bc9b1722a109
796        Wish                    Warnyue                          4e5
                                                          616ed650fd160bb384e68
797        Wish                YM Private Shop01                    12a
                                                          614197fd00d2220418313
798        Wish                  Chenchang627                       5ba
                                                          61542c900896aa1223cd8
799        Wish                    Lunwoar                          a90
                                                          61546e856f284e7d240a7
799        Wish                    Lunwoar                          b56
                                                          61851b98131035fdd2e51
800        Wish                     kuawar                          8bb
                                                          61851b730dffb4ad04223c
801        Wish                   Deehaowun                          96
                                                          5fc395225bdb6796c6665
802        Wish                  NANKINGW                           3cb
                                                          61546f3146d1a52d48aa1
803        Wish                    Cmdedtis                         93e
                                                          61542dc5b669bb77dde2a
803        Wish                    Cmdedtis                         483
                                                          61541195c2f689e9d1433
804        Wish                    Fhiamods                         991
                                                          6153e5f4320d9220e1d90
804        Wish                    Fhiamods                         0c1
                                                          6153e66d05fa5e9fdca540
805        Wish                    Honglipan                         fe
                                                          5fe2f9b99df7ca104f6a2a6
806        Wish                   KIUDSAH                             e
                                                          6080e0bc987ecb7af203ec
807        Wish                  WIEJDOSVI                           80
                                                          5ffad8f5de958784c7f457
808        Wish                  LOVETRUMP                           8a
                                                          5ff57d7e067b9d3a84ff39
808        Wish                  LOVETRUMP                           ba
                                                          5fec4a3def47f302a3c1bf7
808        Wish                  LOVETRUMP                            7
                                                          60ab88dc4e2554e7a7bdf7
809        Wish                     Draioh                           e5
                                                          61aac28b6d0d65152e330
810        Wish                   keshanyouuy                       a58
                                                          604b1eba416ce18c04738
811        Wish                Home & Garden US                     b25
                                                          60c461716ba675e0c3bfa9
812        Wish                     alcohols                         da
                                                          6072826a913f9dc16df3ed
813        Wish                 decoracioneslinc                     6d

                                      37
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                                                          6006e8c221bbeadea52aed
814        Wish                     gGazhj                           d3
                                                          60c462811a1b83e3bb2ec
815        Wish                     luxurys                         7fe
                                                          619c99d410519547401b4
816        Wish                  Dadamart Ltd                       fc0
                                                          6173f1062545009256815
817        Wish                  zhaohequn3578                      348
                                                          6059c44cdabebad556027
817        Wish                  zhaohequn3578                      993
                                                          60728272fb9355991e72fd
818        Wish                 SSR Word Store                       b4
                                                          608179dbbead1fad9c8aca
819        Wish                  yjxklajsndjkasf                     d4
                                                          608e2e39f8417e25e3bdc5
820        Wish                   zhjakjsdhjafs                      38
                                                          60854b351d9bef92e7ffaf
821        Wish                     feiiaioa                         36




                                      38
